
WILLIAM BENJAMIN NAPEAHI, Petitioner/Petitioner-Appellant
v.
STATE OF HAWAI`I, Respondent/Respondent-Appellee
No. 28809
Supreme Court of Hawaii.
March 3, 2009.
William Benjamin Napeahi, petitioner/petitioner-appellant, pro se, on the application.

ORDER DISMISSING APPLICATION FOR WRIT OF CERTIORARI
ACOBA, J., for the court[1]
It appearing that the judgment on appeal in the above-referenced matter has not been entered by the Intermediate Court of Appeals, see Hawai'i Revised Statutes § 602-59 (a), as amended by Act 149 of the 2006 Hawai'i Session Laws; see also Hawai'i Rules of Appellate Procedure (HRAP) Rule 36(b)(1) (2008),
IT IS HEREBY ORDERED that Petitioner/Petitioner-Appellant William Benjamin Napeahi's application for writ of certiorari, filed February 12, 2009, is dismissed without prejudice to re-filing the application pursuant to HRAP Rule 40.1(a) ("No later than 90 days after the filing of the intermediate court of appeals' judgment on appeal or dismissal order, any party may apply in writing to the supreme court for a writ of certiorari.").
NOTES
[1]  Considered by: Moon, C.J., Nakayama, Acoba, and Duffy, JJ., and Circuit Judge Perkins, assigned by reason of vacancy.

